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Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 1 of 13 Pageid#: 697
                             UNITED STATES COIJRT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                           LEwlsF.POWELL,JR.UNITED STATESCOURTHOUSEANNEX
                                    1100 EAST M AIN STREET,SUITE501
                                     RICHMOND,VIRGINIA 23219-3517
                                          WwW.cA4.Usc9URTS.GOV
  PATRICIA S.CONNOR                                                                          TELEPHONE
       CLERK                                                                               (804)916-2709

                                            M arch 22,2019

  Julia C.D udleyy'clerk
  U .S.D istrictCourt
  W estern D istrictofVirginia
  116 N orth M ain Street,Room 314
  H arrisonburg,VA 22802

          Re:     USA v.E vans
                  5.
                   .15-cr-00020-M F U-l

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 the clerk ofthatcourtmustnote on the noticethe datewhen itw asreceived and send itto the district
 clerk.Thenoticeisthenconsideredfiledinthedistrictcourtonthedatesonoted.''
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  contain'ed in the attached, itiàunnecessary to transm itnoticeofthe appeala second tim e.

                                                Yourstruly,



                                                Patricia S.Connor
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  PSC:dlg
  Enclosures

  CC:    W arrenEvans,Jr.(w/stamped lstpage)
         #58902-037
         U .S.Penitentiary - Coleman I
         P.O.Box 1033
         Colem an,FL 33521



Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 2 of 13 Pageid#: 698
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                                                            JURISDIC'ICK
              Thls Honorable Cburt is vested with the jurisdiction and the discretionary authority
     to address and grant the requested relief sought.

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 herotn, cocaine base ''çrackN (10/2014), Count (2) 21:846=CD.F- Conspîracy to Dfstdbute


          Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 3 of 13 Pageid#: 699
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Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 4 of 13 Pageid#: 700
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                                  O FFICE O F TH E C LER K
                                   l100 EastM ain Street,Suite 50l
                                   Richmond,Virginia23219-3517
                                       ww w .caâî.uscourts.cov
      Patricia
             clS.Connor
               erk                                                    . Telejhone
       .
                                                                       804-916-2700

                                       M arch 27,2019


                                  CJA COUN SEL NOTICE



  N o.19-4193, U S v.W arren EvanssJr.
                5:15-cr-00.
                          020-M .
                                FU -1
  TO : Steven Ray M inor
       ELLIO TT,LA W SON & M IN O R ,PC
           110 Piedm ontAvenue
       Suitej00
       Bristol,V A 24201-4159
       276-466-8400
       sminor@ elliottlawson.com
   Thank you foraccepting appointm enton appealin thiscase.Thisofûcew ill
   w ork w ith you in any w ay necessary in connection w ith the appointm ent.The
   case m anager forthis case isR ickie Edw ards,and the follow ing inform àtion is
   providedforyouruse(click onanunderlineddocumenttoacce'ssthedocument
   on thecourt'sw eb site,w ww .ca4.uscourts.gov).

   lnitialForm s:Follow ing form s m ustbe filed w ithin 14 days.
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            TranscriptOrderForm (ordefanynecessarytranscript)
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Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 5 of 13 Pageid#: 701
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    (CM /ECF).Counselnotyetregisteredforelectronicfiling shouldproceedtothe
    court'sweb siteto registerasan ECF filer.SeeRequii-ed Stepsfor'
    R eaistration as an E C F Filer.                                     f

    C opiesofany docum ents filed on appealto date are accessible on the
    court'sdocket.D ocum entsfiled by a pariy whileproceeding pro se willnot
    be considered by the courtunless renew ed by counsel.

   R ecord:Counselshould u7e a fee exem ptaccountfora11PA CER access in CJA
    cases.Ifyou donothaveafe:exçmptaccptlnt,emailpacerlt
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   and listthe courts in w hich you serve as CJA counsel.PA CER w illrespond to
   yog w ith an em ailupdating yourPA CER credentialsto include access as CJA
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   court'sPA CER docketand electronic docum entsare accessible through a linlt to
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   option enablescounselto com bine multiple doctlm entsinto one PDF record for
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   Presentence R eport,Statem entofR easons,T ranscripts: Since the
   presentence reportand statem entofreasons are sealed docum ents and the
   trànscriptisrestricted from publicaccessduring theredactiolnperiod,counsel
   m ay need to m ake specialarrangem entsto obtain these doculnents.lfrecord
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   Foprth CircuitA ppointm éntsD eputy forassistancé in obtaining these item s.
   (SeealsoRecord AccessforNew AppelëateCoqnsel).

 C O N TA C T IN FO R M A T IO N :

  Form er counsel'
                 .     R ussellD arren B ostic,Esq.
                       D irect:540-432- 11l9
                       Email:rdbostic3z@ gmail.com
                       B O STIC & BO STIC,PC
                       409 V irginia A venue
                       H arrisonburg,V A 22802




Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 6 of 13 Pageid#: 702
     D efendant:          W ARREN EVANS-USM # 58902-037
                          U SP C O LEM A N I
                          U.S.PEQ TENTIARY
                          P.O .BO X 1033
                          C OLEM A N ,FL 33521

    Lisa M cFarland,D eputy C lerlt
    804-916-2744
    cc: D efendant
           JuliaC.Dudley
           Erin M arie H arrigan K ulpa
           Elizabeth G .W right


               SEALED & CONFIDENTIAL V ATERIALS
    InternetA vailability ofD ocket & D ocum ents

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    including certain personaldata identitsers in courtfilings.ln addition,partiesshould
    notinclude any data in theirfilingsthatthey w ould notw anton the Internèt.
    Counselshould advisetheirclientsonthissubjectsothataninformed decisioncan
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    D ocum ents fled by the parties in im m igration and socialsecurity cases are not
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    FederalR ules ofProcedure
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    dataidentifers(PDIs)ifincluded in courtfilings:(l)sockalsecurity andtaxID
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Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 7 of 13 Pageid#: 703
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     crim inalcasesm ustbe lim ited to city and state only.The federalrules establish
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     prohibitsslersfrom including any ofthefollow ing criminaldocum entsin the
     public5le:(1)unexeoutedsummonsesorwarrants;(2)bailorpresentencereports;
     (3)statementofreasonsinjudgmentofconviction;(4)juvenilerecords'   ,(5)
     identifying information aboutjurorsorpotentialjurors'
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     (7)exparterequeststoauthorizeCJA servicesand(8)any sealeddoculments,such
     as m otions for dow nw ard departure forsubstantialassistance,plea agreem ents
     indicating cooperation,or victim statem ents.

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     LoçalRule25(c)limitsthesealing ofdocumentsbyrequiringthatsealedrecord
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     appendix and by requiring the filing ofboth sealed,highlighted versionsand public,
     redacted versions ofbriefs and other docum ents.
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     Documentsthatw ere notse:led beforetheagency ordistrictcourtw illnotbe
     sealed in this courtunless a m otion to sealis filed and gra'
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     court,counselm ustserve sealed docum ents on the othérparties in paper form .

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Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 8 of 13 Pageid#: 704
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Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 9 of 13 Pageid#: 705
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     to seal. The m otion to sealm ustidentify the docunlentorpol-tionsthereoffor
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     W hich sealing isrequired.               ''                                  '

     For f'urtherinfonnation on redacting inform ation from fslings,please see N o. 19,
     H ow do lredactitem s from pleadings?




Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 10 of 13 Pageid#: 706
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Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 11 of 13 Pageid#: 707
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        U M TED STA TES O F A M ER ICA

                    Plaintiff-Appellee

        V.

.
        W AR REN EV AN S,JR .,a/lt/a Charlie's brother

                    D efendant-A ppellant



                                          O k D ER

              The courtappoints Steven M inorto representW arren Evans,Jr.on appeal.

        Counselisreferred to the CJA Pavm entM em orAndum and the C JA ev oucher
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    Paee forinform ation on appointm entterm s and procedures.

              CJA authorization forpreparation oftranscriptisobtained by submitting an

    A U TH -24 requestin the districtev oucher system .N ew appellate counselm ust

    contactdistricteVottcherstafffo1-appointmenttotheunderlyinj-dis'trictcoul-t'casç

    in ordertosubm ittheAUTH-24 requestfordistrictjudgeapprovaland theCJA 24
    voucher fortranscriptpaym ent.C ounselm ustalso subm ita TranscriptO rderForm


Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 12 of 13 Pageid#: 708
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   to the courtreporter and districtcourtand file the sam e in the courtofappealsw ith

   thedocketing statem ent.Upon filing oftheTranscriptOrderForm ,the Fourth

   Circuitwillsetdeadlinesforcompletion ofthetranscript.

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  m aintaining tim e and expense recordsand paying forexpertservices.

          ln lightofthisappointm ent,appellate counselis granted accessto sealed

  districtcourtm aterial,w ith the exception ofex parte or in cam era m aterial.A ny

  transcripts orrecord m aterialsenttö prior counselshallbe provided by prior

  counseltonrFly appcirped counsel.Ifmcord item sarenotavailablefrom former
  counsel,new counselshould contactthe Fourth C ircuitA ppointm ents D eputy for

  assistance in obtaining theseitem s.

          The courthaving appointed new counselfoi'pul-
                                                      posesofthisappçal,any

  m otion for further substitution ofcounselshallbe dist-
                                                        avored.

                                         Forthe Court--By D irection

                                         /s/PatriciaS.ConnorsClerk




Case 5:15-cr-00020-MFU-RSB Document 72-1 Filed 04/18/19 Page 13 of 13 Pageid#: 709
